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                      No. 22-60596
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        In the United States Court of Appeals for the Fifth Circuit
  __________________________________________________

                          United States of America,

                                                         Plaintiﬀ—Appellee,

                                       v.

                         Patrick Darnell Daniels, Jr.,

                                   Defendant—Appellant
  __________________________________________________

          Appeal from the United States District Court for the
           Southern District of Mississippi; No. 1:22-cr-58
  __________________________________________________

      Brief of Amicus Curiae Scholars of Second Amendment Law
             and The Independence Institute in Support of
                 Defendant-Appellant Urging Reversal
  __________________________________________________


F. Lee Francis                              Chad Flores
Mississippi College School of Law           Flores Law PLLC
151 E. Griﬃth Street                        917 Franklin Street, Suite 600
Jackson, Mississippi 39201                  Houston, Texas 77002
(610) 925-7100                              (713) 893-9440

George A. Mocsary
University of Wyoming College of Law
1000 East University Avenue
Laramie, Wyoming 82701
(307) 766-5262
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                                     Defendant—Appellant
    __________________________________________________

            Appeal from the United States District Court for the
             Southern District of Mississippi; No. 1:22-cr-58
    __________________________________________________


                          Certificate of Interested Persons

    __________________________________________________

      The undersigned counsel of record certifies that, in addition to the persons

already certified by parties to this action, the following listed persons and entities as

described in the fourth sentence of Fifth Circuit Rule 28.2.1 have an interest in the

outcome of this case. These representations are made in order that the judges of this

Court may evaluate possible disqualification or recusal.




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Amicus Curiae:          The Independence Institute
                        F. Lee Francis
                        Nicholas J. Johnson
                        Donald E.J. Kilmer
                        David B. Kopel
                        George A. Mocsary
                        Joseph V. Muha
                        Joseph E. Olson
                        Glenn H. Reynolds

Counsel:                Flores Law PLLC
                        Chad Flores

                        F. Lee Francis
                        George A. Mocsary


                                           s/ Chad Flores
                                           Chad Flores
                                           Counsel for Amicus Curiae




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                      Identify and Interest of Amicus Curiae

      Amicus Curiae are scholars of Second Amendment Law and The

Independence Institute. They submit this brief in accordance with the Court’s

directive of June 7, 2023, which “invites briefs from amici curiae who wish to supply

relevant information regarding the history and tradition of restrictions on the use and

possession of firearms as pertinent to the issues presented in this case.”

      Amici professors are law professors who teach and write on the Second

Amendment: F. Lee Francis (Mississippi College), Nicholas J. Johnson (Fordham),

Donald E.J. Kilmer (Lincoln), David B. Kopel (Independence Institute), George A.

Mocsary (Wyoming), Joseph V. Muha (Akron), Joseph E. Olson (Mitchell

Hamline), and Glenn H. Reynolds (Tennessee). They were cited by the Supreme

Court in District of Columbia v. Heller, McDonald v. Chicago, and New York State Rifle

& Pistol Association v. Bruen. Oft-cited by lower courts as well, these professors

include authors of the first law school textbook on the Second Amendment, and

many other books and law review articles on the subject.

      F. Lee Francis is an Assistant Professor of Law at Mississippi College School

of Law. His most recent article entitled, Armed and Under the Influence: The Second

Amendment and the Intoxicant Rule After Bruen is forthcoming in the Marquette Law

Review.


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      Nicholas J. Johnson is a Professor of Law at Fordham University, School of

Law. He is co-author of the first law school textbook on the Second Amendment,

FIREARMS LAW AND THE SECOND AMENDMENT: REGULATION, RIGHTS, AND POLICY

(Aspen Pub. 3d ed. 2021) (with David B. Kopel, George A. Mocsary, E. Gregory

Wallace, and Donald Kilmer). The casebook has been cited by majorities in People v.

Chairez (Supreme Court of Illinois) and Grace v. District of Columbia (D.C. Cir.), and

by dissents in Drake v. Filko (3d Cir.) and Heller II (D.C. Cir.). Professor Johnson is

also author of NEGROES AND THE GUN: THE BLACK TRADITION OF ARMS (2014). His

articles on the right to arms have been published by the Hastings Law Review, Ohio

State Law Journal, and Wake Forest Law Review. Other courts citing his right to arms

scholarship include the Seventh Circuit, Eastern District of New York, and

Washington Court of Appeals.

      Donald E.J. Kilmer, Jr. is a Professor of Constitutional Law at Lincoln

University Law School, where his courses include Second Amendment and Firearms

Law. His analysis of post-Heller litigation was published in a symposium of the

Georgetown Journal of Law & Public Policy. He is co-author of the third edition of the

textbook FIREARMS LAW AND THE SECOND AMENDMENT, described above.

      George A. Mocsary is a Professor of Law at the University of Wyoming

College of Law. He is co-author of FIREARMS LAW AND THE SECOND AMENDMENT,



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described above. His firearms-law articles have appeared in the George Mason Law

Review, Connecticut Law Review, and Duke Law Journal Online. His Second

Amendment scholarship was cited in McDonald v. Chicago, and in the Fourth and

Seventh Circuits.

      Joseph V. Muha is an Adjunct Professor at The University of Akron Law

School, where his course covers the Second Amendment and Ohio’s Firearms Law.

His scholarship includes law journal articles on the Constitution as well as 3D

Printing and Firearms. Professor Muha is a certified pistol instructor.

      Joseph E. Olson is an emeritus Professor of Law at Mitchell Hamline School

of Law, where he taught Second Amendment, business law, and tax law. His

scholarship on the right to arms was cited by District of Columbia v. Heller, and also

by the Ninth Circuit, Eastern District of New York, and Washington Supreme Court.

His articles on the right have appeared in the Stanford Law and Policy Review,

Georgetown Journal of Law & Public Policy, and Michigan Journal of Law Reform.

      Glenn H. Reynolds is the Beauchamp Brogan Distinguished Professor of Law

at the University of Tennessee College of Law, where he teaches constitutional law

and technology law. His constitutional scholarship has been published in the

Columbia Law Review, Virginia Law Review, University of Pennsylvania Law Review,

Wisconsin Law Review, and Northwestern University Law Review. The Seventh Circuit



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cited his scholarship as a model of “originalist interpretive method as applied to the

Second Amendment.” Ezell v. City of Chicago, 651 F.3d 684, 699 n.11 (7th Cir. 2011).

In addition, his right to arms scholarship has been cited by the First, Third, Fourth,

Fifth, Seventh, Eighth, and Ninth Circuits; by federal district courts in Wisconsin,

Illinois, and Texas; and by the Supreme Courts of Kentucky and Oregon.

      Independence Institute is the nation’s second-oldest state level think tank,

founded in 1985 on the eternal truths of the Declaration of Independence. The

scholarship and amicus briefs of the Institute’s Research Director, David B. Kopel,

and of the Institute’s Senior Fellow in Constitutional Jurisprudence, Robert G.

Natelson, have been cited in nine U.S. Supreme Court cases, by Justices Alito,

Breyer, Kagan, Roberts, Stevens, and Thomas, and also by then-Judges Gorsuch and

Kavanaugh. In this Circuit, Kopel has been cited in United States v. Rahimi, 61 F.4th

443, 460 n.11 (5th Cir. 2023) and United States v. Gonzalez, 792 F.3d 534, 536 (5th

Cir. 2015).

                                       *       *      *

      No party or a party’s counsel authored this brief in whole or in part. No one

other than the amicus curiae, its members, or its counsel contributed money that was

intended to fund preparing or submitting the brief.




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                                 Summary of the Argument

       This brief addresses the constitutionality of 18 U.S.C. §922(g)(3) as applied

to marijuana users.1

       In pre-1900 America, laws forbade carrying or shooting firearms while

intoxicated, and properly so.2 Laws did not forbid sober people from using firearms

merely because some people chose to become intoxicated at times when they are not

using firearms.

       People have misused weapons while intoxicated with alcohol throughout

recorded history. This has been no less true throughout American history. In the

American legal tradition, people who misuse firearms while under the influence of

alcohol were punished. People who safely wear or shoot firearms at certain times and

safely use intoxicating alcohol at different times were not.

       As applied to marijuana, Bruen does not support an exception to this American

legal tradition. The Supreme Court explained that, if a law burdens an individual’s

Second Amendment right, the Government must prove that the statute at issue


1
  This brief takes a position only with respect to “unlawful user[s] of” marijuana; the analysis may
be diﬀerent for “unlawful user[s] of” cocaine, opiates, or other controlled substances, or to those
“addicted to any controlled substance.” 18 U.S.C. §922(g)(3); see 27 C.F.R. § 478.11 (referring to
a person who “has lost the power of self-control with reference to the use of [a] controlled
substance”).
2
  This brief provides a representative but not comprehensive survey of historic laws involving
alcohol and firearms. Some additional laws, similar to those discussed in this brief, are described in
the Firearms Policy Coalition amicus brief.

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comports with the history and tradition of the Second Amendment. New York State

Rifle & Pistol Association, Inc. v. Bruen, 142 S. Ct. 2111, 2129-30 (2022) (“We reiterate

that the standard for applying the Second Amendment is as follows: When the

Second Amendment's plain text covers an individual's conduct, the Constitution

presumptively protects that conduct. The government must then justify its

regulation by demonstrating that it is consistent with the Nation's historical tradition

of firearm regulation. Only then may a court conclude that the individual's conduct

falls outside the Second Amendment's ‘unqualified command.’”).

      Furthermore, Bruen explains that not every remotely analogous law should be

upheld, if the effect produces a constricted “right” that would be contrary to the

Founders’ expectations. Id. (“[C]ourts should not ‘uphold every modern law that

remotely resembles a historical analogue,’ because doing so ‘risk[s] endorsing

outliers that our ancestors would never have accepted.’”). As explained below, 18

U.S.C. §922(g)(3) extends beyond what Bruen permits.

       The use of marijuana as an intoxicant is as old as the Republic. Bruen provides

that legal analogies may have to be “more nuanced” when addressing “new

technologies” or new social problems. Marijuana, unlike some synthetic drugs, is not

a “new technology.”




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      It is inconsistent to make marijuana use a disqualifier for firearm possession

while allowing possession for alcohol use. It is important to distinguish between

being a marijuana or alcohol user generally versus carrying or shooting a firearm while

being intoxicated.   It is no more constitutional to ban firearm ownership for

marijuana users who wear or fire their arms only when sober than it would be to ban

firearms possession for alcohol users who wear or fire their arms only when sober.

In accord with the broader, long-time understanding that dangerousness is the

proper arms disqualifier, there is a presumption that firearm carriage or discharge

while intoxicated, whatever the intoxication’s source, is dangerous, and therefore

not protected by the Second Amendment.




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                                        Argument

I.     Historical precedent does not support prohibiting an individual’s right to
       keep arms for prior intoxicant use.

       Since colonial days, American laws about arms and intoxication forbade

misuse. Teetotalers and heavy drinkers were treated alike: firearm misuse by either

was illegal, and proper arms use while sober was lawful.

       The first law was passed in 1655, when Virginia colony prohibited any person

from “shoot[ing] any guns at drinking (marriages and funerals only excepted) that

such person or persons so offending shall forfeit 100 lb. of tobacco.” 1655 Va. Acts

401, Acts of March 10, 1655, Act XII. The law was enacted because gunfire was the

alarm for Indian attack, “of which no certainty can be had in respect of the frequent

shooting of guns in drinking.” 1 WILLIAM WALLER HENING, THE STATUTES AT

LARGE; BEING A COLLECTION OF ALL THE LAWS OF VIRGINIA, FROM THE FIRST

SESSION OF THE LEGISLATURE, IN THE YEAR 1619, at 401 (1823); Ann E. Tweedy,

Hostile Indian Tribes . . . Outlaws, Wolves, . . . Bears . . . Grizzlies and Things Like That?

How the Second Amendment and Supreme Court Precedent Target Tribal Self-Defense,

13 U. PA. J. CONST. L. 687, 698 (2011) (noting that Virginia passed its statute to

prevent false alarms of Indian attack). Notably, the law did not even prohibit firearm

carriage while drinking; it only prohibited firearm discharge.




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       Preventing accidental injuries was another reason for prohibiting shooting

while intoxicated.     By order of the Director of the New Netherland Colony,

“Whereas experience hath demonstrated and taught that . . . much Drunkenness and

other insolence prevail on New Year's and May Days, by firing of guns, . . . [leading]

to deplorable accidents such as wounding, . . . the director General . . . expressly

forbids from this time forth all firing of Guns.” Ordinance of the Director General

and Council of New Netherland to Prevent Firing of Guns, 1665 N.Y. Laws 205.

       An 1844 Rhode Island statute regulating the militia prohibited “common

drunkards”—alcohol addicts, cf. supra n.1—from required militia service. Public

Laws of the State of Rhode-Island, An Act to Regulate the Militia, §1 & §45 (1844)

(“Every able bodied . . . citizen in this state . . . [between] the age[s] of eighteen

year[s] and . . . forty-five years, excepting . . . common drunkards . . . shall be enrolled

in the militia.”).

       In the last third of the nineteenth century, three states and one territory

outlawed arms carrying while intoxicated: Kansas (1868), Wisconsin (1883,

handguns), and Missouri (1889).          See GENERAL STATUTES OF THE STATE OF

KANSAS 378, ch. 31, § 282 (John M. Price et al. eds., 1868) (“[A]ny person under the

influence of intoxicating drink . . . carrying on his person a pistol . . . or other deadly

weapon, shall be subject to arrest upon charge of misdemeanor[.]”); SUPPLEMENT



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TO THE REVISED STATUTES OF WISCONSIN 848, ch. 181, § 4397b(3) (A. L. Sanborn


& J. R. Berryman eds., 1883) (“It shall be unlawful for any person in a state of

intoxication to go armed with any pistol or revolver.”); 1 REVISED STATUTES OF THE

STATE OF MISSOURI 854, ch. 47, § 3502 (Samuel C. Major et al. eds., 1889) (“If any

person . . . shall have or carry any [deadly or dangerous weapon] upon or about his

person when intoxicated, or under the influence of intoxicating drinks . . . shall, upon

conviction, be punish by a fine ... or by imprisonment[.]”).

       More narrowly, the Oklahoma territory prohibited “any public officer” from

“carrying” certain specified arms, including a pistol or revolver, “while under the

influence of intoxicating drinks.” STATUTES OF OKLAHOMA 1890 495, ch. 25, art.

47, § 4 (Will T. Little et al. eds., 1891).

       Mississippi (1880) outlawed selling a firearm to an intoxicated person.

REVISED CODE OF THE STATUTE OF LAWS OF THE STATE OF MISSISSIPPI 776, ch. 77,

§ 2986 (J.A.P. Campbell ed., 1880) (“It shall not be lawful for any person to sell to

any . . . person intoxicated, knowing him to be . . . in a state of intoxication” any

concealable, deadly weapon.).

       In short, several laws before 1900 addressed problems of firearms misuse by

intoxicated persons. No laws banned sober use of firearms by persons who chose to

become intoxicated when not carrying or shooting firearms.



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II.    Marijuana.

       A.      Marijuana in the early Republic.

       The hemp plant was as abundant at the Founding as were small arms.

THOMAS PAINE, COMMON SENSE (1776), in THE WRITINGS OF THOMAS PAINE 106

(Moncure Daniel Conway ed. 1894) (“In almost every article of defence we abound.

Hemp flourishes even to rankness, so that we need not want cordage. . . . Our small

arms equal to any in the world.”).

       Some Americans read about people in other nations using hemp as an

intoxicant.3 As part of the famous French scientific expedition to Egypt under

Napoleon, renowned botanist Charles-Nicolas-Sigisbert Sonnini de Manoncourt

reported about hemp: “For want of intoxicating liquors, the Arabs and the Egyptians

compose several preparations from this plant, with which they procure for

themselves a sort of pleasing drunkenness, a state of reverie which inspires gaiety,

and produces agreeable dreams.” C.S. SONNINI, TRAVELS IN UPPER AND LOWER

EGYPT UNDERTAKEN BY ORDER OF THE OLD GOVERNMENT OF FRANCE 92 (Henry

Hunter trans., new ed. 1807) (1799). American newspaper articles headlined the

report that hemp can be intoxicating. See Extract from Sonnini’s Travels in Egypt,


3
 This brief’s use of the term “hemp” is primarily for historical parity and accuracy. Marijuana and
Cannabis are not terms that the founding generation used. For the founding generation, hemp
could be smoked as an intoxicant. Therefore, hemp should be understood as tantamount to
marijuana.

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Respecting the Use of a Preparation of Hemp, as a Narcotic, FARMERS’ MUSEUM, OR

LITERARY GAZETTE, May 26, 1801, at 4 (same quote); Intoxicating Quality of Hemp,

CHARLESTON COURIER, May 20, 1803, at 2 (same).

      Egypt, American media reported, was not the only place where hemp was used

as an intoxicant. See Sketches of India, CHARLESTON MERCURY, Dec. 8, 1825, at 1

(hemp leaves as intoxicants).

      Perhaps some early Americans used hemp as an intoxicant, and perhaps some

did so after reading about its use in other lands. In any case, no American statutes

were passed against hemp. Marijuana prohibition did not start in the United States

until The Marihuana Tax Act of 1937. Pub. L. 75–238, 50 Stat. 551 (1937).

      Alcohol, on the other hand, was identified early as a social scourge. Maine

enacted the first alcohol prohibition law in 1846. More and more States followed,

eventually leading to the enactment of the Nineteenth Amendment in 1919. Notably,

not one State that prohibited its residents from consuming alcohol forbade firearms

possession by a resident who drank unlawfully.

      B.     It is important to distinguish between general users of intoxicants
             and those who are actively intoxicated while using a firearm.

      Mr. Daniels was an admitted user of marijuana. Appellant Br. 17. But the

Government presented no evidence proving that Mr. Daniels was, at the time he

possessed the firearm, intoxicated or actively using an intoxicant. Appellant Br. 18.


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       The distinction between being a marijuana or alcohol user generally, and using

a firearm while being intoxicated is essential. As described in Part I, American

statutes before 1900 distinguished between persons who use intoxicants and persons

who go armed while actually intoxicated; expressly, the laws restricted only the

latter’s right to wear or discharge firearms.

       Statutes criminalizing active intoxication are premised on the notion that

dangerousness is heightened when one carries or shoots a firearm while intoxicated.

See State v. Christen, 2021 WI 39, 81 (Hagedorn, J., concurring) (“[T]he unique

danger of intoxication when combined with potentially deadly force has long been

acknowledged.”).4 Absent intoxication, dangerousness is at its lowest ebb.

Dangerousness should be the key feature for firearms prohibitors, and a person

whose conduct is never dangerous may not be disarmed. See Kanter v. Barr, 919 F.3d

437, 451 (7th Cir. 2019); Folajtar v. Attorney Gen. United States, 980 F.3d 897, 915–

20 (3d Cir. 2020); Binderup v. Attorney Gen. United States, 836 F.3d 336, 357 (3d Cir.

2016); F. Lee Francis, Armed and Under the Influence: The Second Amendment and the

Intoxicant Rule After Bruen, 107 MARQ. L. REV. (forthcoming 2024) (“A proper


4
  State v. Christen employed the two-step interest balancing test that later was rejected by the
Supreme Court. See New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111, 2125 (2022)
(“Despite the popularity of this two-step approach, it is one step too many. Step one of the
predominant framework is broadly consistent with Heller, which demands a test rooted in the
Second Amendment's text, as informed by history . . . Heller and McDonald do not support applying
means-end scrutiny in the Second Amendment context.”).

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showing of dangerousness requires evidence separate from past intoxicant use. . . .

The relevant inquiry centers on illicit use and imminent danger.”); Joseph G.S.

Greenlee, The Historical Justification for Prohibiting Dangerous Persons from Possessing

Arms, 20 WYO. L. REV. 249, 275–83 (2020).

       Mr. Daniels has no violent criminal history. Appellant Br. 25. Restricting an

individual’s right to keep arms absent a showing of dangerousness fails to comport

with the history and tradition of the Second Amendment.5 If dangerousness is best

evidenced by past violent or threatening conduct or active intoxication, then the case

against Mr. Daniels must fail.




5
  Bruen, 142 S. Ct. at 2125 (“We reiterate that the standard for applying the Second Amendment
is as follows: When the Second Amendment's plain text covers an individual’s conduct, the
Constitution presumptively protects that conduct. The government must then justify its regulation
by demonstrating that it is consistent with the Nation's historical tradition of firearm regulation.
Only then may a court conclude that the individual's conduct falls outside the Second
Amendment's ‘unqualified command.’”).

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                                  Conclusion

      This Court should reverse the district court’s judgment and direct entry of

judgment for Mr. Daniels.

                                     Respectfully submitted,

                                     By /s/ Chad Flores
                                     Chad Flores
                                     cf@chadfloreslaw.com
                                     State Bar No. 24059759
                                     Flores Law PLLC
                                     917 Franklin Street, Suite 600
                                     Houston, Texas 77002
                                     (713) 893-9440

                                     F. Lee Francis
                                     lfrancis@mc.edu
                                     Mississippi College School of Law
                                     151 E. Griﬃth Street
                                     Jackson, Mississippi 39201
                                     (610) 925-7100

                                     George A. Mocsary
                                     gmocsary@uwyo.edu
                                     University of Wyoming College of Law
                                     1000 East University Avenue
                                     Laramie, Wyoming 82701
                                     (307) 766-5262




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